
KOGAN, Justice.
We have for review Simms v. State, 627 So.2d 1189, 1190 (Fla. 2d DCA 1993), in which the district court certified the following question as being of great public importance:
MUST A TRIAL COURT, UPON REVOCATION OF PROBATION, CREDIT PREVIOUS TIME SERVED ON PROBATION TOWARD ANY NEWLY-IMPOSED TERM OF PROBATION SO THAT THE TOTAL PROBATIONARY TERM IS SUBJECT TO THE STATUTORY MAXIMUM FOR A SINGLE OFFENSE?
We have jurisdiction pursuant to article V, section 3(b)(4) of the Florida Constitution.
*745We have answered the same question in the affirmative, in State v. Summers, 642 So.2d 742 (Fla.1994). Because the decision under review is in harmony with our decision in Summers, we approve it.
It is so ordered.
GRIMES, C.J., OVERTON, SHAW, HARDING and WELLS, JJ., and McDONALD, Senior Justice, concur.
